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                UNITED STATES DISTRICT COURT SOUTHERN DISTRICT OF FLOW DA
                                        Case N o.0:19-cv-62176


    NorthstarMovingHoldingCompany,jnc.,
    d.b.a.N orthstarM oving and                                      lFILED BY J                D.C.
                                                                                                   1
    N orthstarM overs,
                                                                             ()î1'3 1 2022
    Plaintiff,                                                                ANGELA E,NOBLE
                                                                             cLERK u.s.DlsT.c'1:
    V S.                                                              '
                                                                            s.D.9FFLA.-FT.t.A.
                                                                                             q.
                                                                                              D,

    K ing D avid Van Lines,Ohad Guzi,
    and Itzhak Bokobza,
    '
    D efendants.

                                /                                                   l

             DEFENDANT'S RESPONSE TO PLAINTIFFSS M OTION FOR CONTEM PT

    N ow com es O had Guzi and files this response to Plaintiffs M otion for Contem pt detailing

    why thiscoul.tshouldnothold DefenLantin contemptforfailing to comply with thisprior
    Court's Order,to w it,


           1) On oraboutAugust22nd,2022,PlaintiffNorthstarM ovingHoldingCompany,inc.,
              d.b.a.N orthstar M oving and N orthstar M overs via theirA ttorney ScottW .K onopka

              received Defendant'sTenderpttrsuantto theJudgm entofthisUourt.

           2) NorthstarM oving Holding Company,inc.,d.
                                                     b.a.NorthstarM oving and Northstar
              M overs via their A ttorney ScottW .K onopka accepted the Tender in satisfaction of

              theCourt'sOrderon 12-22-2021(Dop275),forfullvalue,anddidriotret'urn it.
           3) The Defendantrecognizesthe Court'sobligation underitsOath to support.protect
              and defend the Constitation ofthe U nited States and acceptsthe Copi-t's Oath in f'ull.


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          The Defendantalso doesnotwaive any ofhisrightsrecognized by the Constituiion

          of the United States including the protections provided at A rticle 1, Section 10,

          Clause      (<W o Stateshall...make any Thingbutgold and silverCoin aTenderin
          PaymentofDebts''). Therefore,the Courtcannotmake the presumption thatthe
          D efendant w aives his rightto be able to pay his debts in gold and silver Coin. The

          D efendant recognizes and understands and gives N otice to the Courtthat failure to

          comply with the OaththeJudgehastA en willoperateasperjury ofOath and other
          high crim es. The D efendant's Tender incorporatès hisprotections identified w ithin

          the Constitm ion of'theUnited States and hasremained unrebutted on the Record of

          the Case. The D efendant cannot be forced to com ply w ith Court orders if they

          operate to violate the D efendant's protections identified in A rticle 1, Section 10,

          Clause 1 because Congressprotected State CitizensC onstitutionalprotectionsagainst

          collections outside ofthe limits ofthe Constitution.See Fed.R.Civ.P.69(a)(1)
          which statestheapplicableprocedm eforexecutingamoneyjudgmçnt:
                   (a)(1)A moneyjudgmentisenforèedbyawritofexeçutionunlessthe
                   court directs othenvise. The procedure on execution- and in
                 proceedings supplementary to and in aid of judgment or
                   exectltion- m ust accord with the procedure of the jtate where the
                   courtislocated,buta federalstgtute governsto the extentitapplies.
                                   /'

          Theoriginalfmdingsoffacts(Doc274)didnotdescribetheform ofpaymenfdemanded
          ofthedefendant,and hewaslefttopresum ewhich form ofpaym entwasrequired in ihe
          com pletion ofthe fonu 1.977.Since there are two legalform s ofpaym entin the U nited

          StatesofAm erica,and only onefonp ofpaymentisauthorizedby the Constitm ion,the

          Order and the form 1.977 itselffailed to indicate which form ofpaym entw astô bç used

          in the com pletion ofform 1'
                                     .977.



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       4) FloridaForm 1.977 requiresthedefendantto sign theForm 1.977underthepenalty
          of'perjury while atthe sametime doesnotdefine which system ofaccotmting the
          defendantm ust use in its com pletion,doçs notm ake it clear what form ofm oney it
                                                      e            .
                                                  j


          asksforsince no courthasdetined ttmoney''orEtmoney ofaccount''(see31U.S.C.
          5101 notes).The lack ofinfonnation supplied with the Florida Form 1.977, the
          vagueness of the Court's order, and the requirem ents of the Constitm ion of the

          United Statescombineto operate asaconflictof1aw thatprejudicestheDefendant
          and denies the D efendant enough inform ation to respond w ith answ ers that he can

          sw earby.

       5) TheTenderin thismatterwasissued on August22,2022 wellafteralltheprevious
          ordersthatordered the Defendantto produc: docum ents. Therefore,the unrebutted
                                                          q




          and accepted Tender in this m atter m akes all previous requests for information to

          com plete execution M oot.

       6) This hearing turns on how the Plaintiff can be allowed tmjust enrichment by
          accepting thetmrebutted Tenderwhiletrying tocollectthissatistiedjudgmentagain
          in severalotherjmisdictions.Forinstance,See Case No.CACE 18029679 in the
          17th JudicialCircuitin and forBrow ard County,Florida.

          D efendantis w ithout ability to com plete Form 1.977 because itis void forvagueness

          in that it does not define w hich system of accounting the defendantm ustuse in its

          com pletipn,it does notdefine Gold and Silvercoin as required by the Constitm ion of

          the U nited States at 1-10-1,or FederalReserve N otes as identified as pbligations of

          theUnited States.SeeTitle18U.SCC.j8.Theform 1.977isvagueinthatitdoesnbt
          differentiate between inform atl
                                         Jon concerning constitutionally approved form s of




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           money or other forms ofcreditpaymentsT ederalReserve Notes,and the comt nor
           the form 1.977 itselfgives any direction

       8) TheDoc274FindingsofFactsrelates,CtGuziisindividuallyliableforthetrademark
           infringem entin this case as a ltm oving,consciousforce''.As a m oving,conscious force

           D efendanthas no access to the financialrecords ofK ing D avid Van Lines,a fact

           consistentw ith D oc 274 findings therefore,O had Guzicannotcbm ply w ith an im possible .

           order. Sim ply putOhad Guzihasno ability to access the financialinform ation ofa

           Corporation hedoesnotown orcontroland cannotcomply with thatportion öfthe

           Courts Order.

       9) Plaintiffattemptstowork afraud onthisCourt,and tlleDefendant,by purposeftzlly
           w ithholding from the Courtthe fact that D efendanthad rendered the Court's Order

           mootby making aTenderin theftlllnmountofthejudgmentindicatedintheCourt's
           orderof 12/22/2021.

       10)Theacceptance ofthe tenderoperatesto maketheneed forthe completion ofany
           com pliance fonus thataid collection m oot.

       11)Underthe currentsetofcircumstancesthe PlaintiffsM otion forContemptin this
                    ,
                                                                     '

          courtisinbadfaith,and could bethetasisforpenaltiesand sanctionsunderFRcp
           11.againstthe Plaintiff's law yers.

                                                 Prayer

    For the forgoing reasons and for the evidence supplied,the D efendantrequests the courtto
    fm dthattheHearing forN ovember14,2022 would bem ootand servesno pup ose.


                                        sy: z(.(;::&u
                                        O had Guzi
                                        3740 N 54th Ave
                                        H ollywood Florida
                                        Email:gio917776199O@ gmai1.com;


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                             CERTIFICATE O F SERV ICE
    1,Ohad Guzi,dpherebyèertifythatatnzeand correctcopy ofhisDEFENDANT'S
    RESPON SE TO PLA IN TIFF'S M O TION FOR CO N TEM PT & A FFIDAVIS OF
    NON-RESPONSEM Sbeen mailedpostageprepaid tothefollowingrrcipientson the
     4 / dayof otfoLqv ,2022.
     .
                                                  '

     Lurana Snow ,M agistrate Judge            ChristopherD .Bright
     % C lerk ofthe Court                      Snell& W ilm erL .L.P
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